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                 IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF NEVADA

UNITED STATES OF AMERICA,      )            CR. No. 05-00121 DAE-RJJ
                               )
               Plaintiff,      )
                               )
           vs.                 )
                               )
HEIDI J. RASMUSSEN, [16]       )
                               )
               Defendant.      )
_______________________________)

                   ORDER RESCHEDULING SENTENCING

            The court hereby reschedules the sentencing of Defendant Heidi

Rasmussen from August 25, 2010, to September 23, 2010, at 8:30 a.m., at the

United States District Court for the District of Nevada, 333 Las Vegas Boulevard,

South, Las Vegas, Nevada, in a courtroom to be assigned.

            IT IS SO ORDERED.

            DATED: Honolulu, Hawaii, July 13, 2010.




                                _________________________________
                                DAVID ALAN EZRA
                                UNITED STATES DISTRICT JUDGE
